                             IN THE UNITED STATE DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

JITENDRA JAIN, MANISH ARORA
SCARIYA KUMARAMANGALAM,
HARSH DATTA, and BALVANT ARORA

                    Plaintiffs,

vs.                                                               Case No.: 8:20-cv-02263-VMC-JSS

NEXGEN MEMANTINE INC.,
SUREN AJJARAPU, ANNAPURNA
GUNDLAPALLI, GAJAN MAHENDIRAN,
TRXADE, INC., and WESTMINSTER
PHARMACEUTICALS, LLC,

                    Defendants
                                                          /

            RESPONSE AND OBJECTIONS TO PLAINTIFFS’ FIRST
       REQUEST FOR ADMISSIONS TO DEFENDANT GAJAN MAHENDIRAN

        Defendant, GAJAN MAHENDIRAN (“Defendant”), by counsel and pursuant to Federal

Rule of Civil Procedure 36, responds to Plaintiffs Jitendra Jain, Manish Arora, Scariya

Kumaramangalam, Harsh Datta, and Balvant Arora’s First Request for Admission to Defendant

Gajan Mahendiran (the “Request”) as follows:

                GENERAL OBJECTIONS AND PRESERVATION OF RIGHTS

        The following General Objections to the Request are incorporated into each of the Specific

Responses and Objections as though set forth in full.

         1.         Defendant objects to each definition, instruction, and request to the extent it seeks

information which is subject to: the attorney-client privilege, the work product doctrine, the

investigative privilege, the party communication privilege, the joint defense or common interest

privilege, the mediation privilege, or any other privilege or immunity which provides protection


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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 25, 2021, a true and accurate copy of the foregoing has

been served via electronic mail to the following:

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                                             By: /s/ Kenneth G.M. Mather
                                                Kenneth G.M. Mather, Esq.
                                                Florida Bar No. 619647




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